













Opinion issued October 25, 2007








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-07-00635-CV
____________

ALL CLEANING EQUIPMENT, L.L.C., Appellant

V.

ATEXIS ENTERPRISES, INC., Appellee




On Appeal from the 189th District Court
Harris County, Texas
Trial Court Cause No. 2005-32265




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed motion to dismiss its appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Hanks, and Higley.


